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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


GLOBAL GAMING PHILIPPINES, LLC,

                Plaintiff,

           v.

ENRIQUE K. RAZON, JR.;
BLOOMBERRY RESORTS AND HOTELS        No. 21-CV-2655 (LGS)
INC.; SURESTE PROPERTIES, INC.;
COLLINGWOOD INVESTMENT
COMPANY LIMITED; COLLINGWOOD
OIL & GAS HOLDINGS, LLC;
COLLINGWOOD USA, INC.;
COLLINGWOOD BROOKSHIRE USA,
INC.; COLLINGWOOD APPALACHIAN
MINERALS, LLC; ASIA ARROW
LIMITED; RIZOLINA LLC; ENSARA LLC;
NOZAR LLC; BOWERY BAY LLC;
CAMPANILLA LLC; FESARA LLC; AND
11 ESSEX STREET REALTY LLC,

                Defendants.



         REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                 DEFENDANTS’ MOTION TO DISMISS
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           Plaintiff’s opposition (“Opp.”) is riddled with legal infirmities. Because there is no long-

arm jurisdiction over the Debtor Defendants1 in New York, Plaintiff falls back on a flimsy consent

theory that is foreclosed by Second Circuit precedent, a Rule 4(k)(2) theory whose prerequisites

cannot be satisfied, and a theory of “imputed tag jurisdiction” that is as novel as it is unfounded.

And Plaintiff urges that same novel theory as the sole basis for personal jurisdiction over CICL

and the Energy Entities, conceding the absence of long-arm jurisdiction over them. On the alter

ego claim against Mr. Razon, Plaintiff effectively admits that it does not allege a fraud or other

wrong, but claims that it does not have to. For this erroneous proposition Plaintiff cites non-binding

dicta from maritime cases that are inconsistent with controlling Second Circuit authority. And even

assuming arguendo that those dicta supplied the standard, the FAC plainly fails to meet it. In fact,

Plaintiff does not dispute that it is asking this court to make history by piercing the veil of an

exchange-listed company for the first time. The attempt at an extraordinary “reverse-pierce” from

Mr. Razon to the Non-Bloomberry Entities is even more far-fetched; Plaintiff cannot establish that

Plaintiff and Mr. Razon had a creditor/debtor relationship such that the Non-Bloomberry Entities

were used to defraud or otherwise wrong Plaintiff. Plaintiff also fails to deal with the time and

preclusion bars on its conversion claim, and its forum non conveniens analysis ignores the realities

of this case and key precedent, even relying on a dissent. It is time to dismiss this case. 2

I.         THE COURT LACKS PERSONAL JURISDICTION OVER THE DEBTOR
           DEFENDANTS, CICL, AND THE ENERGY ENTITIES

      A. The Debtor Defendants Have Not Consented to Jurisdiction

           Plaintiff leads with the new theory that an MSA clause providing that “the decision of the

arbitration panel shall be binding upon both Parties and enforceable in all jurisdictions” is a forum



1
    Defined terms have the same meanings as in our opening memorandum (“Motion” or “Mot.”).
2
    The pro forma request for leave to amend (Opp. 29 n.27, 40) should be denied. The FAC’s defects are incurable.
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selection clause. Opp. 4 (quoting Dkt. 85-4 § 19.2(b)). But this language is nothing more than a

boilerplate “entry of judgment” clause.3 An entry of judgment provision that is, like this one, silent

on personal jurisdiction should not be read as an award-debtor’s “consent to the jurisdiction of any

court in any country in the world.” Sonera, 750 F.3d at 227 (rejecting argument that foreign debtor

defendant waived personal jurisdiction defense through such a clause).

         GGP bases its “consent” argument on two inapposite cases that the unsuccessful litigant in

Sonera also raised.4 In Reed & Martin, Inc. v. Westinghouse Elec. Corp., the AAA arbitration was

seated in New York City, a fact that, when coupled with the AAA’s rules (part of the contract there

but not here) and Section 9 of the FAA (which is inapplicable here), created personal jurisdiction

on consent. 439 F.2d 1268, 1276-77 (2d Cir. 1971). And in the Copenhagen case, among other

things, (i) the court independently found it had jurisdiction over the defendant due to its contacts

with the forum, and (ii) the service of suit clause provided defendant’s consent to be sued in the

United States. 1998 WL 323489, at *2 (S.D.N.Y. June 17, 1998). 5

    B. There Is No Long-Arm Jurisdiction Over the Debtor Defendants

         The Motion explained that specific jurisdiction over the Debtor Defendants does not exist

under CPLR 302(a)(1) because the MSA was a Philippine transaction, governed by Philippine law,

in which Global Gaming Philippines, LLC (a non-New York company) provided management

services for a resort and casino located in the Philippines. Mot. 7-9. GGP cites three cases that




3
  Although such clauses, arguably required for enforcement of domestic awards, are “technically unnecessary” in the
context of foreign awards, “authorities on international arbitration recommend such clauses be included even in
international agreements out of an abundance of caution.” Sonera Holding B.V. v. Cukurova Holding A.S., 750 F.3d
221, 227 n.3 (2d Cir. 2014) (citing a practice manual).
4
  See Aug. 14, 2013 FRAP 28(j) Letter, Case No. 12-4280-cv(L) (2d Cir. Aug. 14, 2013), ECF No. 135.
5
  Even if Section 19.2(b) was a forum selection clause (it is not), it would not be “valid and enforceable.” Opp. 4-5.
Courts do not enforce “forum selection clauses ‘that do not apply to an ascertainable forum.’” Gordian Grp., LLC v.
Syringa Expl., Inc., 168 F. Supp. 3d 575, 581 (S.D.N.Y. 2016) (clause was “plainly unenforceable” because it provided
for “jurisdiction in any court in which [company] . . . is sued or otherwise found or brought”).



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found CPLR 302(a)(1) satisfied after determining that, in stark contrast to this case, multiple

Sunward factors (see Mot. 8-9) (or as Plaintiff terms a subset of them, “Roxx Allison factors”) were

met. Opp. 6-8. In Roxx Allison Ltd. v. Jewelers Inc., 385 F. Supp. 3d 377, 380-81 (S.D.N.Y. 2019),

the out-of-state defendant made numerous purchases from a company incorporated and located in

New York, with payments made into New York, and goods shipped out of New York. Id. at 380-

81. In North Fork, a plaintiff located in New York alleged that it was fraudulently induced into an

agreement that (i) involved the issuance of a loan in New York, (ii) chose New York law, (iii)

required disputes to be settled in New York, (iv) required notices to be sent to plaintiff in New

York and (v) resulted in monthly (fraudulent) statements sent into New York. 2020 WL 6899486,

at *1-*4, *7-*13 (S.D.N.Y. Nov. 23, 2020). And Ascento Capital, LLC v. MinervaWorks, LLC,

2021 WL 2206487 (S.D.N.Y. June 1, 2021), also involved, among other distinguishing factors,

(i) a plaintiff located in New York, (ii) the defendant attending multiple in-person pre-contractual

meetings in New York, and (iii) a contract that would require the defendant to make a payment to

plaintiff in New York. Id. at *1-*3, *5-*7. Nothing like any of these circumstances is present here.6

        Unable to marshal any case law that supports it, GGP points to various alleged facts while

ignoring that all of them are irrelevant to the analysis of long-arm jurisdiction:

   GGP points to the parties travelling to New York to attend meetings with investors, Opp. 8-
    10, but flatly ignores that participation in these meetings fell “outside the scope of the MSA,”
    Mot. 10 (citing and quoting Dkt. 85-1 ¶¶ 366(b), 370, 372 7), and therefore are irrelevant to the
    CPLR 302(a)(1) analysis, see Mot. 8 (citing Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt.,
    LLC, 450 F.3d 100, 105 (2d Cir. 2006), a binding precedent that Plaintiff ignores).

   GGP points to negotiation of the MSA via email and phone into New York, see Opp. 8-9, but
    flatly ignores that “conducting contractual negotiations by phone, fax or mail with a party” –


6
  GGP also cites Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158 (2d Cir. 2010), Opp. 7, but Chloe involved
a defendant who (i) operated a highly interactive website offering counterfeit bags for sale to New York customers,
(ii) shipped a counterfeit bag to a customer in New York, and (iii) “engaged in fifty-two other transactions where
merchandise was shipped to New York.” 616 F.3d at 170.
7
  The arbitral rulings are part of the pleading for all purposes. Fed. R. Civ. P. 10(c).



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    let alone a non-party such as Cantor – “in New York does not constitute the transaction of
    business within the state.” Mot. 9-10 (citing a string of cases). 8

   GGP points to Cantor lawyers in New York collecting signature pages for the MSA, Opp. 9,
    but ignores that Sunward focuses on where the MSA was signed, which according to the FAC
    was the Philippines. Mot. 10; FAC ¶ 59.

   GGP’s discussion of Bloomberry’s alleged contacts with Cantor, Opp. 9-10, completely
    ignores that Cantor was not a party to the MSA or the arbitration (Mot. 11 & n.9). Further, that
    Cantor happens to be located in New York is irrelevant when Defendants did not direct
    themselves at New York. See, e.g., Walden v. Fiore, 571 U.S. 277, 284-86 (2014) (“[A]
    defendant’s relationship with a plaintiff or third party, standing alone, is an insufficient basis
    for jurisdiction. . . . Due process requires that a defendant be haled into court in a forum State
    based on his own affiliation with the State, not based on the ‘random, fortuitous, or attenuated’
    contacts he makes by interacting with other persons affiliated with the State,” like Cantor here).

   GGP claims for the first time that it “spent extensive hours” performing unspecified services
    in New York, Opp. 10, but ignores that the jurisdictionally relevant inquiry is into Defendants’,
    not Plaintiff’s, activities in New York. Mot. 11; see also Walden, 571 U.S. at 284-86. Even so,
    virtually all of GGP’s services under the MSA were centered around operating Solaire in the
    Philippines. The FAC says nothing about “extensive hours” and indeed fails to identify a single
    instance of GGP actually performing services in New York. See Mot. 11-12 & n.10.

   GGP points to a Confidentiality Agreement governed by New York law, but claims,
    egregiously, that the agreement was between “the Debtor Defendants and Cantor,” Opp. 9,
    when in fact the agreement was between the Debtor Defendants and GGAM, and executed for
    GGAM by William Weidner, who was not in New York. Perry Decl. Ex. 1. GGP also ignores
    that the claims here do not arise from the Confidentiality Agreement – a requirement under
    Sole Resort. Mot. 8, 10 n.7.

There is no long-arm jurisdiction over the Debtor Defendants in New York. 9




8
  GGP also refers to its allegation “[o]n information and belief” that “during this same time period Razon also traveled
to New York and conducted negotiations with [Plaintiff] while staying at his” pied-à-terre in New York. Opp. 7-9
(citing FAC ¶ 54). But, as we explained without rejoinder, GGP does not and cannot allege that Mr. Razon attended
any in-person meetings or negotiations with GGP in New York, and even if it had done so, that still would not satisfy
CPLR 302(a)(1). Mot. 9-10 n.7.
9
  On due process, GGP does not analyze minimum contacts separately from CPLR 302(a)(1), even though we did
(Mot. 12), and its discussion of the reasonableness factors (Opp. 11) is faulty. For instance, some of the arbitration
proceedings took place in Washington, D.C. instead of Singapore (the seat of the arbitration) because of health issues
of one arbitrator and/or one counsel. See Dkt. 85-3 ¶¶ 22-23; Dkt. 85-1 ¶ 68. GGP also cites no authority for the novel
proposition that the location of a party’s counsel (as opposed to the party itself) is relevant to a
reasonableness/convenience analysis. If that were so, an out of state defendant could never hire in-state counsel to
challenge jurisdiction. See also Mot. 12 n.11, 37-40 (discussing factors relevant to reasonableness); section IV below.



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     C. Rule 4(k)(2) Does Not Create Jurisdiction Over the Debtor Defendants

         Rule 4(k)(2) is not available unless “the defendant is not subject to the jurisdiction of the

courts of general jurisdiction of any one State,” and “the defendant’s total contacts with the United

States as a whole are sufficient to confer the court with personal jurisdiction without offending due

process.” Astor Chocolate Corp. v. Elite Gold Ltd., 510 F. Supp. 3d 108, 124 (S.D.N.Y. 2020). To

meet the former requirement, a plaintiff must “certify[] that, to its knowledge, [the foreign

defendant] is not subject to jurisdiction in any state’s courts.” 10 As the First Circuit has explained,

“assigning the burden to defendants” would unfairly put “a defendant in a ‘Catch-22’ situation,

forcing it to choose between conceding its potential amenability to suit in federal court (by denying

that any state court has jurisdiction over it) or conceding its potential amenability to suit in some

identified state.” United States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 41 (1st Cir. 1999).11

         Certification here is not as simple as Plaintiff suggests (Opp. 13 n.6). 12 As Plaintiff notes,

the only relevant contacts are those relating to the contract (its breach and resultant injury) that

gave rise to the arbitration. Opp. 14-15. The only jurisdictionally relevant allegations then are that

BRHI and SPI contracted with a Nevada entity and that one or two in-person meetings concerning

the MSA occurred in Nevada (see FAC ¶¶ 50, 64, 75; Dkt. 85-4 at 31, 61-62). If Plaintiff submitted

a Rule 4(k)(2) certification, it would be an admission that these contacts are insufficient for long-




10
   Astor, 510 F. Supp. 3d at 134-35 (declining to apply Rule 4(k)(2) without certification); In re SSA Bonds Antitrust
Litig., 420 F. Supp. 3d 219, 240 (S.D.N.Y. 2019) (same); 7 W. 57th St. Realty Co., LLC v. Citigroup, Inc., 2015 WL
1514539, at *13 (S.D.N.Y. Mar. 31, 2015) (same), aff’d, 771 F. App’x 498 (2d Cir. 2019); In re M/V MSC
FLAMINIA, 107 F. Supp. 3d 313, 322–23 (S.D.N.Y. 2015) (same).
11
   Plaintiff relies heavily on the Tenth Circuit’s Compañía decision (Opp. 14-15), but the Tenth Circuit – unlike the
First Circuit and courts in this Circuit – does not require any such certification. 970 F.3d at 1284.
12
   In Freeplay Music, LLC v. Nian Infosolutions Priv. Ltd. (cited at Opp. 13 n.6), plaintiff’s CEO certified under
penalty of perjury, and did so only after the court had found state long-arm jurisdiction unsatisfied. 2018 WL 3639929,
at *13 & n. 47 (S.D.N.Y. July 10, 2018). GGP cannot make the certification here as long as it continues to argue for
state long-arm jurisdiction. See also Astor, 510 F. Supp. 3d at 134 n.13.



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arm jurisdiction in Nevada.13 But if those contacts are insufficient for jurisdiction in Nevada – the

long-arm jurisdiction of which is co-extensive with the limits of due process 14 – they are

necessarily insufficient to satisfy federal due process under Rule 4(k)(2).

       Even if Plaintiff could somehow make the certification, federal due process still would be

unsatisfied because GGP’s claim does not “arise out of or relate to” BRHI’s and SPI’s contacts

with the United States. See Bristol-Myers Squibb Co. v. Super. Ct., 137 S. Ct. 1773, 1780-81

(2017). Compañía (cited at Opp. 14) actually demonstrates this point. Compañía focused on

whether the defendant’s U.S. contacts injured the plaintiff, giving rise to the claim that was

arbitrated. 970 F.3d at 1284-89. Even though it was a “close question,” the test was “narrowly”

satisfied, as multiple in-person meetings in the U.S. during which defendant misled plaintiff

resulted in the breach of contract that was the subject of arbitration. Id. Here, unlike there, BRHI’s

and SPI’s only relevant contacts with the United States – namely, attending a pre-contractual

meeting with GGP in Nevada – in no way resulted in the breach or any injury that was at issue in

the arbitration. See also SPV Osus Ltd. v. UBS AG, 882 F.3d 333, 344 (2d Cir. 2018) (where, as

here, defendant has had only “limited contacts” with the applicable forum, appropriate focus is

whether “plaintiff’s injury was proximately caused by those contacts”). The unreasonableness

showing here is also stronger than one that had “some traction” in Compañía. Id. at 1289.15

     D. “Alter Ego” Is Not a Basis for Asserting Personal Jurisdiction Over Any Entity Here

        Conceding that long-arm jurisdiction does not exist for CICL and the Energy Entities (Mot.

12-14), Plaintiff argues that they (and the Debtor Defendants) are subject to jurisdiction as alleged


13
   The FAC’s smattering of allegations about investor meetings in various U.S. locales is irrelevant because (as
discussed in the Motion and above), those meetings were unrelated to the arbitral contract. Mot. 10; page 3 above.
14
   See, e.g., Cath. Diocese v. John Doe 119, 131 Nev. 246, 249 (2015).
15
   For instance, the Compañía defendant, unlike the Debtor Defendants, had its General Counsel actually located in
the U.S., and did “hundreds of millions of dollars of business here,” 970 F.3d at 1290, compared to Bloomberry, which
derives no revenue from the U.S. E.g., Dkt. 12-3 at 9 (Bloomberry’s marketing offices are all in Asia).



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alter egos of Mr. Razon. Opp. 12, 29, 35. This fails because the alter ego allegations are

insufficient. See II. below; Mot. 14-32. But even if they were sufficient, Mr. Razon concedes

jurisdiction in this proceeding not because of his contacts with New York but because he was

personally served with process here – so-called “tag” jurisdiction. Tag jurisdiction does not apply

to an entity (e.g., Mohamad v. Rajoub, 2018 WL 1737219, at *5 (S.D.N.Y. Mar. 12, 2018)) – as

we pointed out (Mot. 14 n.16) without rejoinder and as this Court has already held. 16

         “Tag” jurisdiction is a form of general jurisdiction under CPLR 301. See, e.g., Mohamad,

2018 WL 1737219, at *5. But Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915,

929 (2011) and Daimler v. Bauman, 571 U.S. 117, 122 (2014) each sharply limited the locales in

which a corporation is subject to all-purpose (general) jurisdiction as well as the circumstances in

which one defendant’s concession of jurisdiction could be imputed to another because of their

corporate affiliation. Plaintiff cites not a single case – nor have we located any – in which “tag”

jurisdiction over an individual was imputed on an alter ego theory to corporate entities having no

connection to the forum. Such a novel maneuver would raise serious due process concerns.

         Plaintiff’s case law mostly addresses whether jurisdiction that is already properly

established over a corporate entity can be imputed to that entity’s owner or affiliates on an alter

ego theory.17 But the “rationale” of cases “holding a corporate parent to answer for conduct within


16
   Tr. 19, 25-29 (“Tag jurisdiction is not effective over a corporation. . . . So, without tag jurisdiction what that leaves
is general jurisdiction and specific jurisdiction as a means to obtain jurisdiction over a corporation.”); see also id. at
28-29 (flagging that the personal jurisdiction holding would remain law of the case absent additional evidence of
contact between Bloomberry and New York).
17
   Opp. 12 (citing Transfield ER Cape Ltd. v. Indus. Carriers, Inc., 571 F.3d 221, 224 (2d Cir. 2009), SNET v. Glob.
NAPs Inc., 624 F.3d 123, 138 (2d Cir. 2010), and Kinetic Instr., Inc. v. Lares, 802 F. Supp. 976, 986 (S.D.N.Y. 1992)).
It is far more common to use a domestic subsidiary’s activities to obtain jurisdiction over a foreign parent than it is to
“do the reverse and seek personal jurisdiction over a foreign subsidiary based on the actions of its domestic parent.”
Sabol v. Bayer Healthcare Pharm., Inc., 439 F. Supp. 3d 131, 143-44 (S.D.N.Y. 2020). Plaintiff does manage to cite
a pre-Daimler / Goodyear outlier, Miramax Film Corp. v. Abraham, 2003 WL 22832384, at *6 (S.D.N.Y. Nov. 25,
2003), that used reverse-piercing to assert jurisdiction over two entities based in part on the fact that their controlling
individual did not dispute jurisdiction. Notably, in that case, quite unlike this one, those two entities had been used to
work an alleged fraud on the plaintiff. See id. at *2-*3, *8.



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the forum carried out by an [alleged] alter ego subsidiary,” does not apply in reverse. Home-Stake

Prod. Co. v. Talon Petr., C.A., 907 F.2d 1012, 1021 (10th Cir. 1990). As the Tenth Circuit

explained on strikingly similar facts, “it is unfair to impute to the [allegedly] dominated

corporation the forum contacts of its [alleged individual] alter ego. The corporate defendants are

entitled to defend their status as real legal entities, separate from [the individual], in a forum with

which they themselves have sufficient contacts.” Id. (emphasis added).

II.      GGP FAILS TO STATE A CLAIM FOR ALTER EGO LIABILITY

         A. Mr. Razon Is Not Liable as an Alter Ego of Bloomberry

             1. Domination Without More Does Not Suffice for Veil-Piercing

         Plaintiff relies on dicta from a trio of maritime cases to argue that it is not required to allege

a fraud or other wrong at all.18 Instead, Plaintiff argues, the veil-piercing test under federal common

law is “disjunctive,” and therefore it suffices solely to allege domination and control. Opp. 17.

Here is the exact passage Plaintiff is relying on: “‘[The individual] must have used [the corporate

entity] to perpetrate a fraud or have so dominated and disregarded [the corporate entity]’s corporate

form that [the corporate entity] primarily19 transacted [the individual]’s personal business rather

than its own corporate business.’” Williamson v. Recovery, Ltd., 542 F.3d 43, 53 (2d Cir. 2008)

(emphasis added; alterations in original). Similar language appears in Dow Chemical Pac. Ltd. v.

Rascator Maritime S.A., 782 F.2d 329, 342 (2d Cir. 1986) and Kirno Hill Corp. v. Holt, 618 F.2d

982, 985 (2d Cir. 1980). This language employs a higher standard for domination than does New

York law, and as explained in II.B.3 below, there is no serious argument that the FAC meets it.


18
   Elsewhere in its brief, Plaintiff seems to concede that some type of wrongful conduct is required. Opp. 32-33
(requesting that Non-Bloomberry Entities be “reverse pierced” because of supposed improper diversion of assets from
Mr. Razon to them, though not from the Debtor Defendants to Mr. Razon); see also Opp. 24 n.17 (citing a case for
the proposition that “‘the predicate for application of corporate veil piercing is the commission of a fraud or wrong’”
in a section of the brief arguing that no such requirement exists).
19
   Plaintiff’s otherwise near-verbatim quotation of Williamson incorrectly substitutes the word “essentially” for
“primarily.” Opp. 17.



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        But the dicta Plaintiff relies on is not the correct federal standard in the Second Circuit.

Plaintiff’s cases were self-consciously pronouncing solely on maritime law and had nothing to do

with the FAA.20 The Second Circuit’s FAA cases incontestably require a fraud or other wrong in

addition to domination. Interocean Shipping Co. v. Nat’l Shipping & Trading Corp., 523 F.2d 527,

539 (2d Cir. 1975) (declining to bind a non-party to an arbitration agreement as an alter ego

because even if the complete domination prong was met, there was “no evidence . . . that such

control was used to perpetrate a fraud or something akin to fraud. Such a showing is a sine qua

non to holding a non-signatory bound by an arbitration agreement [as an alter ego].”) (emphasis

added) (citing Fisser v. Int’l Bank, 282 F.2d 231, 238-39 (2d Cir. 1960) (drawing on New York

law in FAA case to hold that alter ego liability requires both complete domination and a fraud or

other wrong)). In fact, in a different FAA case, the same attorney representing Plaintiff here made

the identical argument, citing the same dicta21 – and lost. After reviewing the Second Circuit’s

cases, Judge Cederbaum concluded that “the federal and New York standards appear to be one and

the same,” and so the federal standard “should correctly be read as requiring both domination and

fraud” or other wrong. Lakah v. UBS AG, 996 F. Supp. 2d 250, 260 (S.D.N.Y. 2014). 22

        Further, the language Plaintiff relies on is dicta. Interocean and Fisser were decided well

before Plaintiff’s trio. To whatever extent Plaintiff argues that non-FAA maritime cases are

controlling here, later Second Circuit panels had no authority to overrule – nor is a district court

free to ignore – the earlier panels. E.g., Gold v. Feinberg, 101 F.3d 796, 801 (2d Cir. 1996); see

also Lakah, 996 F. Supp. 2d at 260 (following Interocean as “older and therefore binding”). And



20
   Judge-made maritime law is “simply one branch” of federal common law, not the entirety of it. In re Oswego Barge
Corp., 664 F.2d 327 (2d Cir. 1981).
21
   See Mem. of L. at 57-58 & n.54, Lakah, 07 Civ. 2799 (S.D.N.Y. June 19, 2013), ECF No. 191 (“Ainsworth Brief”).
22
   Our Motion cited Lakah on (among other things) the equivalence between federal common law and New York law.
Mot. 15 n.18. Plaintiff ignored it.



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sure enough: Williamson did not impose alter ego liability because domination was not adequately

alleged (542 F.3d at 52-53), Dow Chemical found fraud in addition to a disregard of the corporate

form (782 F.2d at 342-43), and Kirno Hill reversed a judgment of alter ego liability because

plaintiff had shown neither fraud nor the requisite domination (618 F.2d at 985). Not one of the

trio actually held that mere domination, without a fraud or other wrong, is sufficient. Similarly,

not one of plaintiff’s cases used mere domination, without a fraud or other wrong, to pierce the

veil or find such a claim stated.23

         As if Plaintiff were trying to undermine its own argument, the sole FAA case that Plaintiff

cites on alter ego expressly applied the “conjunctive” standard. CBF Industria de Gusa S/A v.

AMCI Holdings, Inc., 316 F. Supp. 3d 635, 649-50 (S.D.N.Y. 2018) (denying motion to dismiss

where plaintiffs sufficiently alleged both domination/control and commission of a fraud/wrong);

see also Oriental Comm. & Shipping Co., Ltd. v. Rosseel, N.V., 702 F. Supp. 1005, 1018-19

(S.D.N.Y. 1988) (applying conjunctive standard in FAA case). Plaintiff had to allege a fraud or

other wrong that harmed it – and basically admits it did not and cannot do so. See II.A.2. below.

That dooms its claims. See, e.g., Schiff v. ZM Equity Partners, LLC, 2020 WL 5077712, at *4

(S.D.N.Y. Aug. 27, 2020) (dismissing because even if complete domination was adequately

alleged, abuse of the corporate form to commit a fraud or wrongdoing was not); Schwartz v. Sensei,

LLC, 2020 WL 5817010, at *9-*10 (S.D.N.Y. Sept. 30, 2020) (similar, plus harm was not alleged).




23
   See Goldberg v. Col. Metal Spinning & Stamping Co., 1993 WL 361672, at *5-*7 (S.D.N.Y. Sept. 14, 1993)
(piercing veil where defendants “manipulated the corporate form in a fraudulent effort to shirk their obligations”);
Status Int’l S.A. v. M&D Maritime Ltd., 994 F. Supp. 182, 186 (S.D.N.Y. 1998) (domination was not adequately
alleged, rendering the discussion of a disjunctive versus conjunctive standard dicta); Wajilam Exports (Singapore)
Pte. Ltd. v. ATL Shipping Ltd., 475 F. Supp. 2d 275, 283 (S.D.N.Y. 2006) (sustaining alter ego claim where plaintiff
alleged that contracting party diverted its revenues to the alleged dominator); Unithai Maritime Ltd. v. RP Logistics
Pvt. Ltd., 2008 WL 11518033, at *4 (S.D.N.Y. Aug. 13, 2008) (plaintiff alleged that dominating entity used dominated
entity “as ‘pass through’ entity to insulate itself from creditors”).



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              2. Plaintiff Throws in the Towel on Its Ability To Allege Fraud or Other Wrong

         Plaintiff does not seriously dispute that the FAC fails to allege an abuse of the corporate

form to perpetrate a fraud or other wrong. Opp. 25 & n.20. For instance, Plaintiff expressly

concedes the absence of any allegation that Mr. Razon has diverted the assets of Bloomberry,

rendered it judgment-proof, undercapitalized it, or otherwise used Bloomberry to perpetrate a fraud

on Plaintiff. Opp. 19 n.11. Plaintiff also acknowledges that a “‘simple breach of contract, without

more, does not constitute a fraud or wrong’” warranting veil-piercing (Mot. 23; see Opp. 25), and

further does not dispute that the arbitrators made no finding (nor does the FAC contain any

cognizable allegation) that Bloomberry’s breach of contract as found by the tribunal was somehow

in bad faith, wrongful, or pretextual. Mot. 23 n.28. 24

         Half-heartedly trying to identify some actionable wrong, Plaintiff argues that Bloomberry

terminated the MSA and has subsequently resisted arbitral enforcement for Mr. Razon’s “personal

benefit.” Opp. 25; see also Opp. 19, 20, 21.25 However, as Defendants explained without rejoinder:

(1) a summary allegation of “personal benefit” does not suffice for veil-piercing, (2) terminating

GGP was squarely in the interest of Bloomberry as an entity, as was pressing defenses to arbitral



24
   Plaintiff argues that the “wrong” can be a “breach of a legal duty, or a dishonest or unjust act in contravention of
plaintiff’s legal rights,” Opp. 25 (citing CBF), but Plaintiff does not actually allege a breach of a legal duty (apart from
breach of contract, which is insufficient) or dishonest or unjust act. It is no answer to say that the pleading is governed
by Rule 8(a). Opp. 19, 21, 22. Even under Rule 8(a), there must be well-pled, non-conclusory factual allegations to
support each element of a claim. E.g., Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550
U.S. 544, 555 (2007). In fact, Plaintiff tellingly places significant reliance on pre-“Twiqbal” Rule 8(a) cases (see Opp.
19 (citing Wajilam), 22 (citing Network)), even urging application of the “no set of facts” standard from Conley v.
Gibson, 355 U.S. 41, 45-46 (1957). The Supreme Court overruled that standard in Twombly, saying that this “puzzling”
formulation is “best forgotten.” 550 U.S. at 563.
25
   Plaintiff tepidly suggests an additional theory of a wrong: that Mr. Razon allegedly used Bloomberry personnel “to
help him move assets from his own name to an array of entities, further remoting them from any potential liability he
may face.” Opp. 25. But this is circular logic. As we explain in II.B. below, allegedly moving assets from Mr. Razon
to Non-Bloomberry Entities cannot possibly be a wrong that harmed Plaintiff unless Plaintiff makes a prior showing
that Mr. Razon is an alter ego of Blooomberry (and thus a debtor of Plaintiff), and Plaintiff cannot do that by showing
Mr. Razon moved his own personal assets somewhere else. Separately, although Plaintiff alludes to the theory that
Mr. Razon’s supposed “leveraging” of a relationship with PSE head Hans Sicat somehow constituted the requisite
wrong (Opp. 21), Plaintiff offers no response to our point that this theory flunks the causation requirement (Mot. 23).



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enforcement, (3) Bloomberry has no obligation to operate in the best interests of Plaintiff, as

opposed to the best interests of Bloomberry’s shareholders, Mot. 23-25, and (4) contesting arbitral

enforcement is not “‘the kind of fraudulent or wrongful conduct that calls for piercing the corporate

veil.’” Mot. 25 (quoting Am. Fuel).

         Plaintiff also offers no response to our point that the true thrust of the FAC was the

defective theory that veil-piercing would be equitable because the Philippine courts cannot be

trusted to dispense justice in this matter. Mot. 5, 26. Finally, we explained that where, as here, a

sophisticated plaintiff had an opportunity to investigate its contractual counterparties ahead of time

and chose not to make the corporation’s controlling shareholder personally liable on the contract,

courts are particularly reluctant to pierce. Mot. 26-27. Plaintiff has no response to this, either.

                  3. Plaintiff Does Not Allege Complete Domination

         Plaintiff does not dispute that no U.S. court has ever pierced the veil of a company listed

and in good standing on a stock exchange, or even held that a claim for doing so was stated. Mot.

4, 16-17; Opp. 23. Instead Plaintiff suggests that Mr. Razon could somehow be the alter ego of the

Debtor Defendants but not of their listed parent. This makes no sense (BRHI and SPI are operating

units of BRC), and Plaintiff cites no case in which such a thing has happened. 26 Plaintiff concedes

that BRC – with its dispersed shareholders, two independent directors, and capitalization,

governance, disclosure, and audit obligations imposed by the Philippine authorities (Mot. 16-18)

– is not alleged to be the alter ego of Mr. Razon. Opp. 23. That alone should end the inquiry.

         Also, even if Plaintiff were correct (and it is not) that the passage it relies on from

Williamson supplies the correct federal standard for veil-piercing, it is simply not possible to allege



26
   To reach Mr. Razon, Plaintiff necessarily “would need [at least] two veil-piercings or findings of alter ego liability
– the first to get to [BRC], the [] direct parent of [BRHI and SPI], and the second to get to [Mr. Razon] as the non-
debtor ultimate” majority shareholder. In re Tronox Inc., 855 F.3d 84, 106 n.27 (2d Cir. 2017).



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that the Debtor Defendants have so “disregarded the corporate form that they primarily transact

[Mr. Razon’s] personal business rather than their own corporate business,” 542 F.3d at 53. And in

fact, no such allegation appears in the FAC, which (1) does not actually plead disregard of

Bloomberry’s corporate form (as we previously explained without rejoinder, Mot. 17-18), and (2)

makes it very clear that Bloomberry is primarily transacting the corporate business of Bloomberry,

namely operating Solaire.27 And that is so despite the allegations that Bloomberry personnel

sometimes wore different hats and assisted the Razon family with unrelated investments.

         Regardless of which Second Circuit formulation applies, the factors that are supposed to

inform the “domination” analysis are not satisfied.28 Mot. 17-19, 31-32 (discussing each of the

factors). Plaintiff attempts to sidestep this problem by gesturing at generalized allegations of

control, as if it were sufficient to allege that the chairman, CEO, and indirect majority shareholder

installed loyal executives at the company and played a hands-on role in managing it. Opp. 19-23.

Plaintiff also urges the Court to consider the “totality” of its allegations, Opp. 25, but that is just a

distraction from the fact that the traditional veil-piercing factors are not alleged here.

         Defendants explained, citing a series of cases, that “undercapitalization” (along with the

related phenomenon of siphoning of assets to render a corporation judgment-proof) is “practically

a sine qua non of alter ego status.” Mot. 4, 17, 20. Plaintiff’s response: undercapitalization is but

one of many non-dispositive factors. Opp. 23. That may technically be true, but Plaintiff fails to

cite any case in which an alter ego claim was upheld, at the pleading stage or otherwise, without



27
   E.g., FAC ¶ 13 (“BRHI owns and operates the gaming elements of Solaire”), ¶ 14 (SPI “owns and operates the non-
gaming elements of Solaire”); see also Dkt 85-1 ¶¶ 284-323 (discussing BRHI’s and SPI’s past and anticipated future
performance in operating the business of Solaire).
28
   Plaintiff cites a list of 12 or 13 factors compared to the 10 cited by Defendants. Opp. 18; Mot. 16. The lists are
similar, though Plaintiff’s list adds “siphoning of corporate funds by a principal,” “insolvency,” “perpetuation of fraud
by shareholders in maintaining the corporate form,” and “failure to pay dividends,” several of which are sometimes
considered under the “fraud or other wrong” prong (see, e.g., AFTC II, 126 F. Supp. 3d at 410, aff’d, 716 F. App’x at
28), and none of which is or could be alleged here – as Plaintiff acknowledges.



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any indication of undercapitalization and/or diversion of funds for personal use. 29 (What is more,

most of Plaintiff’s cases were decided under the “conjunctive” standard, meaning they reflect

ample allegations or findings of a fraud or other wrong in addition to domination.) Even Sphere

Digital, on which Plaintiff heavily relies (Opp. 18, 19, 22), fits the pattern. The contracting party

there – which was alleged to have been used as a device to “shift liability for the payment of

[plaintiff’s] invoices” away from a different entity that “had paid them historically,” 2020 WL

6064156, at *2 (S.D.N.Y. Oct. 14, 2020) – eventually filed for bankruptcy, 30 demonstrating that it

was undercapitalized and/or insolvent.

         As Plaintiff seems to recognize, the only allegations that are even potentially relevant to a

traditional veil-piercing analysis are (1) the alleged use of the corporate plane, and (2) the alleged

use of Bloomberry personnel/office equipment for Energy Entity business. Mot. 19, 31; Opp. 24

& nn.18, 19.31 But Defendants have explained that use of the plane, without more, is insufficient,



29
   See Opp. 17-25 (citing Wm. Passalacqua Bldrs. v. Resnick Devs. S., Inc., 933 F.2d 131, 139 (2d Cir. 1991)
(“Developers was severely undercapitalized”); CBF, 316 F. Supp. 2d at 647-48 (contracting party allegedly “was
inadequately capitalized at the time of the transaction” and subsequently transferred all of its assets to a different entity
and claimed insolvency); Network Ent., Inc. v. APBA Offshore Prods., Inc., 2002 WL 31050846, at *4 (S.D.N.Y. Sept.
12, 2002) (contracting party allegedly was “suddenly bereft of assets” and plaintiff allegedly was “harmed by . . .
[alleged dominator’s] diminishment of [contracting party’s] assets”); Picard v. Magnify Inc., 583 B.R. 829, 849
(S.D.N.Y. 2018) (entities had been stripped of cash amid withdrawals of fictitious Madoff-related profits for personal
use); Accordia Ne., Inc. v. Thesseus Int’l Asset Fund, N.V., 205 F. Supp. 2d 176, 178, 181-82 (S.D.N.Y. May 24, 2002)
(controlling individual “grossly undercapitalized” the entity defendants); Rolls-Royce Motor Cars, Inc. v. Schudroff,
929 F. Supp. 117, 120, 122 (S.D.N.Y. 1996) (“unbeknownst to Rolls-Royce, [contracting defendant] was insolvent at
the time of the [relevant] transactions”); Ridge Clearing & Outsourcing Solutions, Inc. v. Khashoggi, 2011 WL
3586455, at *9, *11 (S.D.N.Y. Aug. 12, 2011) (“Ultimate was severely undercapitalized from its inception” and
“likely insolvent” at the time of the transaction that harmed plaintiff); Dow Chem., 782 F.2d at 342-43 (affirming
district court finding that “Dr. Galin treated Rascator as his alter ego particularly when he drained Rascator of the
profits of his fraud,” 594 F. Supp. 1490, 1499 (S.D.N.Y. 1984)); Wajilam, 475 F. Supp. 2d at 283 (contracting party
allegedly diverted its revenues to the alleged dominator); Unithai, 2008 WL 11518033, at *4 (dominating entity
allegedly received payments meant for dominated entity, and used dominated entity “as ‘pass through’ entity to
insulate itself from creditors”)).
30
   See Sphere Digital LLC, v. Armstrong, No. 20 Civ. 821 (D. Utah Jan. 4, 2021), ECF No. 62.
31
   Plaintiff refers vaguely to “commingling” of Bloomberry’s “assets,” Opp. 22, 24, but as we explained without
dispute, Plaintiff is referring solely to this (i.e., the plane and the assistance with the energy investments), not to
commingling of personal and corporate funds, which is what courts conducting a veil-piercing analysis are normally
interested in. Mot. 18 & n.24, 20-21. In fact, personal use of corporate property or non-financial resources is a
comparatively unimportant veil-piercing factor that does not even make Plaintiff’s list of 12 or more factors. Opp. 18.



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Mot. 19 (citing Gartner v. Snyder, 607 F.2d 582 (2d Cir. 1979) and Canario v. Lidelco, Inc., 782

F. Supp. 749 (E.D.N.Y. 1992)), and Plaintiff has no meaningful response. Opp. 24. 32 And Plaintiff

concedes, as it must, that overlap among personnel is “insufficient without other factors.” Opp. 31

n.28; see also Kalin v. Xanboo, Inc., 526 F. Supp. 2d 392, 403 (S.D.N.Y. 2007) (“A person can

hold positions as a corporate officer . . . of two companies, and yet can be acting in only one of

those two roles at a given moment.”). Here there are no other factors. The alleged involvement of

Bloomberry personnel in Energy Entity business does not suddenly make Mr. Razon personally

liable for Bloomberry’s debts, and neither does anything else in the FAC.

         B. The Non-Bloomberry Entities Are Not Liable as Alter Egos of Mr. Razon

         We explained that the FAC does not (and cannot) allege that the corporate form of the Non-

Bloomberry Entities was used to visit a fraud or other wrong on Plaintiff, or to harm it. Mot. 27-

28. Plaintiff responds that Mr. Razon has “diverted his assets into the [Non-Bloomberry] Entities

with the intent of shielding those assets from his creditors, including Plaintiff.” Opp. 32-33, 35.

First of all, this theory of a “wrong” is not pled in the FAC. See Opp. 32 (citing FAC ¶¶ 143, 150-

52, 160, 193, none of which allege that Plaintiff is a creditor of Mr. Razon); FAC ¶¶ 215, 217

(failing to identify a wrong warranting reverse piercing); see also Wright v. Ernst & Young LLP,

152 F.3d 169, 178 (2d Cir. 1998) (opposition brief cannot be used to amend pleading).

         Further, Mr. Razon was not a debtor of Plaintiff when he made the transfers and he still is

not a debtor of Plaintiff. Plaintiff and Mr. Razon will not be creditor and debtor until at a minimum

(1) the Award is reduced to a judgment against the Bloomberry entities, (2) Bloomberry’s veil is


32
  Plaintiff ignores Gartner, and attempts to distinguish Canario on the basis that it applied the “conjunctive” standard
and was rendered on summary judgment, not the pleading stage, with no credible evidence presented, prompting
Plaintiff to accuse us of “misleading” the Court. Opp. 24 n.19. But Canario was very clear (and so were we in
describing it – we specifically referred to “allegations,” not evidence, Mot. 19) that “even if these allegations
[regarding much more extreme personal use of a corporate plane than is alleged here] were substantiated, they would
not “rise to the level necessary to pierce the corporate veil.” 782 F. Supp. at 760 (emphasis added). So too here.



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pierced such that judgment also is rendered against Mr. Razon, and (3) Mr. Razon refuses to pay

such a (highly hypothetical) judgment. Even then, in order to reverse pierce, Plaintiff would have

to show that equity required looking to the assets of the Non-Bloomberry Entities as opposed to

attaching Mr. Razon’s personal assets. In the meantime, this is nothing more than an attempt to

“bypass[] normal judgment-collection procedures, whereby judgment creditors attach the

judgment debtor’s shares in [a] corporation,” but “not the corporation’s assets.” Cascade Energy

& Metals Corp. v. Banks, 896 F.2d 1557, 1576-79 (10th Cir. 1990) (overruling a reverse pierce)

(emphasis added). Plaintiff’s “reverse pierce” claims are unripe and are, in substance, a request for

an advisory ruling about the parameters of a hypothetical enforcement-of-judgment proceeding

against Mr. Razon.33

        And while Plaintiff appears to recognize that special-purpose entities are not automatically

deemed “dominated” by their owners (Mot. 29; Opp. 32), Plaintiff mostly does not discuss

(because the FAC does not plead) the actual factors used to assess domination, such as lack of

corporate formalities or intermingling of Mr. Razon’s personal funds with the Non-Bloomberry

Entities’ corporate funds. Instead Plaintiff offers pages of bullet points to support Mr. Razon’s

mere “ownership and control over the Energy Entities” (Opp. 29-31), which is not the test. Plaintiff

also refers to use of Bloomberry personnel and resources (though not Bloomberry funds) to assist

with the Energy Entities’ business (Opp. 29-32), which is insufficient because case law (that

Plaintiff fails to meaningfully distinguish) plainly allows this and because the Non-Bloomberry

Entities are not alleged to be alter egos of Bloomberry. Also, these allegations are totally


33
  It is important to bear in mind that “reverse piercing” is an exceptional remedy (even more so than ordinary veil-
piercing) and controversial. See Manichaean Capital, LLC v. Exela Techs., Inc., 251 A.3d 694, 711-15 & n.93 (Del.
Ch. 2021). To the extent Plaintiff claims that federal common law should be understood as distinct from New York
law, Plaintiff does not cite, and we are not aware of, any case in this Circuit applying federal common law that held
an entity liable for its owner’s (here, unpled and, to date, non-existent) debts. See Kingston Dry Dock Co. v. Lake
Champlain Trans. Co., 31 F.2d 265, 267 (2d Cir. 1929) (L. Hand, J.) (maritime case stating that reverse pierce “if
possible at all, must be extremely rare” and involve subsidiary’s domination of owner).



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conclusory as to the Real Estate Entities. Mot. 31-32 & n.33; Opp. 36; II.A.3 above. In fact, if

Plaintiff is correct that domination alone suffices to pierce the corporate veil, and if Plaintiff is

also correct that the FAC’s weak and conclusory allegations establish domination of the Non-

Bloomberry Entities, then every single-owner, special-purpose entity would automatically be an

alter ego of its owner. That, of course, is not the law.

III.    GGP FAILS TO STATE A CONVERSION CLAIM AGAINST MR. RAZON

        Attempting to get around the time bar on its conversion claim, Plaintiff invokes the

“continuing wrong doctrine.” Opp. 26. But as we already noted (Mot. 34 n.36), and as the New

York Court of Appeals has squarely held, the continuing wrong doctrine does not apply to

conversion claims. Sporn v. MCA Records, 58 N.Y.2d 482 (1983); accord King v. Fox, 28 F. App’x

95, 98 (2d Cir. Jan. 29, 2002). Sporn distinguished between trespass – a mere “interference with

plaintiff’s property” – and conversion, i.e., the “denial of plaintiff’s rights to the property or

possession of that property,” 58 N.Y.2d at 487. Sporn explained that the continuing wrong doctrine

applies only to the former, not the latter: “If defendant hits plaintiff’s horse repeatedly, plaintiff

has a new cause of action upon each striking; but if defendant destroys plaintiff’s horse, or takes

it and claims it as his own, plaintiff’s right accrues immediately and he must sue with the period

of limitation measured from that date – or never.” Id. (cleaned up and with emphasis added).

        The FAC alleges that beginning in 2014, Mr. Razon and Bloomberry “seized” the Option

Shares. FAC ¶ 258 (tribunal found “de facto seizure”); see also id. ¶¶ 118, 150, 245, 267; Dkt. 85-

1 ¶¶ 446-50. Within the limitations period, Mr. Razon allegedly has “continued to . . . . maintain

his de facto seizure of the Option Shares and prevent Plaintiff from enjoying and exercising its

rights and privileges attended [sic] to its lawful ownership of that property.” Id. ¶ 259; see also id.

¶ 249 n.31 (alleging that Mr. Razon has “continue[d] his seizure”); Opp. 27 (claiming that recently,

Mr. Razon “took affirmative steps to prevent Plaintiff from regaining its rights to own, possess,


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and dispose of the Option Shares.”). As alleged, Mr. Razon did not merely hit the horse a few

times; he took it (and has held on to it). The claim is time-barred.

         Plaintiff’s only authority for applying the continuing wrong doctrine to conversion in New

York is Nuss v. Sabad, 2016 WL 4098606 (N.D.N.Y. July 28, 2016). There the earlier event, which

was outside the limitations period, consisted of tricking the plaintiffs into paying nearly in full,

rather than just on a 50/50 basis, for certain property. Id. at *1-*2. The later event, which was

within the limitations period, consisted of diluting, from 50% to 4.5%, the plaintiffs’ ownership of

a corporation that owned the property. Id. at *2. These were different conversions and the second

one caused “a far more significant injury” than the first. Id. at *9. Because the case involved “a

series of related but separate harms,” Nuss concluded that it should depart from Sporn. Id. at *10

(emphasis added).34 Here, there has been just one harm – consistently since 2014. Compare FAC

¶ 118-19, Dkt. 85-1 ¶¶ 467-74, 507(c)-(e) (arbitrators imposed the Constructive Remedy worth

$196 million based on “the full value of the Shares as of December 9, 2014”) with FAC ¶ 268 &

page 99 (Plaintiff is still seeking $196 million to compensate it for the loss of the Option Shares).

         Next, Plaintiff tries to deal with its res judicata problem by arguing that Mr. Razon was

not a party to the arbitration. Opp. 28-29. However, he did not need to be a party. He only needed

to be in privity with Bloomberry, which he clearly was and which Plaintiff does not actually

dispute. Mot. 35.35 Also, the FAC identifies no “personal acts of conversion” by Mr. Razon (Opp.

28) distinct from Bloomberry’s “de facto seizure” as found by the tribunal; in other words, the




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   The reason for the continuing wrong doctrine is that a plaintiff might not know its damages until the series of wrongs
is complete. King, 28 F. App’x at 98 (citing Kahn v. Kohlberg, Kravis, Roberts & Co., 970 F.2d 1030 (2d Cir. 1992)).
But here, those policies are inapplicable “because by [2014], at the latest, [Plaintiff] could predict [its] alleged damages
with ease and precision,” King, 28 F. App’x at 98.
35
   Plaintiff calls Feitshans “inapposite” (Opp. 28 n.26), yet Plaintiff’s own description of the case makes it sound
indistinguishable – which it is.



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same claim was raised before.36 Plaintiff additionally has no response to our separate point that the

conversion claim is an impermissibly duplicative, relabeled attempt to enforce the Award against

Mr. Razon as the alleged alter ego of Bloomberry. Mot. 36-37; see also FAC 99.

IV.      THE COURT SHOULD DISMISS UNDER FORUM NON CONVENIENS

         GGP does not dispute that it forum-shopped or that forum-shopping reduces deference,

Mot. 37, yet states categorically that its choice should be given the “greatest deference” because it

is a “domestic company.” Opp. 37. However, the forum choice of a domestic corporate plaintiff

that “maintain[s] a business presence in foreign countries” receives less deference than that of an

“individual of modest means.” Carey v. Bayerische Hypo-Und Vereinsbank AG, 370 F.3d 234,

238 (2d Cir. 2004). Here, GGP is an internationally focused business (FAC ¶ 48) that entered into

a relationship under which GGP would “manage the day-to-day operations of the Facilities”

located in Manila. Dkt. 85-4 at 39.37 Deference is reduced.

         Backtracking from the FAC’s assertions that Mr. Razon has undue “influence” in the

Philippines, GGP seeks to disqualify the Philippines on the grounds that were GGP to proceed

there, GGP could not reach the Defendants’ U.S. assets. Opp. 38. But the Second Circuit has

explained that the adequacy of the alternate forum depends on whether “some assets” are available



36
   Plaintiff suggests that for res judicata, Plaintiff had to be able to name Mr. Razon in the arbitration. That is not the
test, but even supposing it were: an individual can be forced to arbitrate on the contracts of a corporation if the
individual is the corporation’s alter ego. See, e.g., Lakah, 996 F. Supp. 2d at 254 (same counsel “pursued discovery
for five and a half years, attempting to show that” individuals were bound as alter egos on entities’ arbitration clauses);
see also Ainsworth Brief 5, 56. Therefore, to the extent Plaintiff is arguing that it could not have brought Mr. Razon
into the arbitration, Plaintiff is admitting that its alter ego claim against him fails.
37
   We explained that one reason for reducing deference is that GGP is not a New York entity. Mot. 38. GGP tries to
refute this point by citing Guidi v. Inter-Continental Hotels Corp., 224 F.3d 142 (2d Cir. 2000), and a district court
case (Constellation) that itself relied on Guidi. Opp. 37 & n.36. But what Guidi actually held is that “the states where
Plaintiffs reside are not relevant to the forum non conveniens analysis in this case,” and expressly distinguished
between the sympathetic individual plaintiffs suing there and a corporate plaintiff of GGP’s ilk. 224 F.3d at 146 n.4,
147 (“This is not a case where the plaintiff is a corporation doing business abroad and can expect to litigate in
foreign courts.”) (emphasis added). On top of that, one of GGP’s own cases said that plaintiff’s status as an out-of-
state company was a factor weighing against deference. Mexico Infrastructure Fin., LLC v. Corp. of Hamilton, 2019
WL 1206690, at *6 (S.D.N.Y. Mar. 14, 2019) (“New York is not Plaintiff’s home forum.”).



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there, “not whether the precise asset located here can be executed upon there.” Figueiredo v.

Peru, 665 F.3d 384, 390-91 (2d Cir. 2011) (emphasis added). Rather than reckon with Figueiredo,

Plaintiff relies on its dissent. Opp. 38-39. Moreover, Bloomberry has not just “some” but

substantially all of its assets in the Philippines – billions of dollars’ worth, a sizable portion of

which is cash or cash equivalents. See Mot. 17 n.22; see also Dkt. 12-3 at 74.

        GGP is clearly hoping the Court will not reach the third step of the forum non analysis.

Opp. 37, 38, 39. GGP makes no attempt to grapple with (among other things) the “extraordinary,

multi-layered comity problem” that the conversion claim would present in this jurisdiction (this

Court would have to sit in judgment of the Philippine courts as the alleged tortious instruments of

Mr. Razon’s will, see Mot. 33 n.35, 39), nor with the significant conflicts of laws issues likely to

arise. Mot. 39-40. GGP instead makes the unremarkable point that it is a “favored policy” of the

United States to confirm Convention awards. Opp. 39. But the Second Circuit has held (over the

dissent that GGP relies on) that this “general policy must give way” in the face of strong

countervailing factors. 665 F.3d at 392.38 Additionally, GGP’s assertion that the witnesses and

evidence it needs “are either located in the United States or readily available” (Opp. 40) is belied

by GGP’s recent request for Letters Rogatory to obtain testimony and evidence from the

Philippines. Dkt. 116. GGP also cites no authority for assessing the Philippine witness’

convenience differently to the extent they can use (according to Plaintiff’s unsupported assertion,

Opp. 40) “private jets” to “ease” the (at least) 32-hour round trip voyage from Manila that they

would have to undertake to testify about matters with no connection to New York.


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  Indeed, courts in this Circuit have not hesitated to dismiss Convention actions based on forum non conveniens. See,
e.g., Prodprogramma-Impuls Ltd. v. Bank of India, 2012 WL 2411809 at *10-11 (S.D.N.Y. June 25, 2012) (dismissing
because of the inconvenience of establishing successor or alter ego liability as between two Indian corporations when
India could more appropriately and conveniently adjudicate such issues); HS Europe S.A. v. El Attal, 2010 WL
3000059, at *5-6 (S.D.N.Y. July 22, 2010) (application to enforce international award against alleged alter egos
dismissed because none of the parties was present in New York, and an adequate alternative forum existed).



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Dated: September 3, 2021                                 Respectfully submitted,
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